   Case 1:25-md-03143-SHS-OTW               Document 205        Filed 06/16/25      Page 1 of 4




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 IN RE:

 OPENAI, INC.

 COPYRIGHT INFRINGEMENT                                Case No. 1:25-md-3143-SHS-OTW
 LITIGATION

 This Document Relates To:

 Class Cases

    DEFENDANT MICROSOFT CORPORATION’S RESPONSE TO PLAINTIFFS’
              MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Paragraph 25 of the Modified Stipulated Protective Order in the Class Cases

(Authors Guild, ECF 338), Defendant Microsoft Corporation (“Microsoft”) submits this response

in support of Plaintiffs’ Motion for Leave to File Under Seal (ECF 150) (“Motion”) requesting

that the redacted portions in the first sentence and the last sentence of the third paragraph on page

2 of Plaintiffs’ letter motion regarding production of documents that hit on LibGen search terms

(“Letter Motion”) (ECF 153) and Exhibit 5 (ECF 153-5) thereto be sealed.

       Although “[t]he common law right of public access to judicial documents is firmly rooted

in our nation’s history,” this right is not absolute and courts “must balance competing

considerations against” the presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d

110, 119–20 (2d Cir. 2006). “The proponent of sealing ‘must demonstrat[e] that closure is essential

to preserve higher values and is narrowly tailored to serve that interest.’” Bernstein v. Bernstein

Litowitz Berger & Grossman LLP, 814 F.3d 132, 144 (2d Cir. 2016) (quoting In re N.Y. Times Co.,

828 F.2d 110, 116 (2d Cir. 1987)). “[T]he presumption of public access in filings submitted in

connection with discovery disputes . . . is generally somewhat lower than the presumption applied

to material introduced at trial, or in connection with dispositive motions . . . .” Brown v. Maxwell,
   Case 1:25-md-03143-SHS-OTW                Document 205        Filed 06/16/25       Page 2 of 4




929 F.3d 41, 50 (2d Cir. 2019). “[W]hile a court must still articulate specific and substantial reasons

for sealing such material, the reasons usually need not be as compelling as those required to seal

summary judgment filings.” Id.

       The Letter Motion contains descriptions of Exhibit 5 thereto, which is a highly confidential

document, the disclosure of which would unfairly prejudice Microsoft. Exhibit 5 to the Letter

Motion, which has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

pursuant to the Protective Order, contains highly confidential information about the terms of

Microsoft’s agreement with OpenAI. See Ex. A (Declaration of Lucky Vidmar). It is also a

documents that has been exchanged during the course of discovery and is designated under the

Protective Order. New York Times, ECF 378. Authors Guild, ECF 305. Microsoft requests that the

redacted portions in the first sentence and the last sentence of the third paragraph on page 2 of the

Letter Motion are sealed from the public and Exhibit 5 be sealed in its entirety.

       The information Microsoft seeks to seal and redact is the type of information commonly

found to warrant sealing. See id. (granting motion to seal similar information and documents in

this case); see also Regeneron Pharms., Inc. v. Novartis Pharma AG, No. 1:20-CV-05502, 2021

WL 243943 (S.D.N.Y. Jan. 25, 2021) (finding that requested redactions were “narrowly tailored to

protect competitive business information, including the non-public terms of [various agreements]”

and concluding “that the sensitivity of this information outweighs the presumption of access”);

Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 511 (S.D.N.Y. 2015)

(citation omitted) (concluding that proposed redactions were “generally limited to specific

business information and strategies, which, if revealed, ‘may provide valuable insights into a

company’s current business practices that a competitor would seek to exploit.’”).




                                                  2
   Case 1:25-md-03143-SHS-OTW               Document 205         Filed 06/16/25      Page 3 of 4




          For the reasons stated above, and those set forth in the Declaration of Lucky Vidmar,

Microsoft supports Plaintiffs’ Motion for Leave to File Under Seal (ECF 150). Specifically,

Microsoft requests that the redacted portions in the first sentence and the last sentence of the third

paragraph on page 2 of Plaintiffs’ Letter Motion (ECF 153) and Exhibit 5 (ECF 153-5) thereto be

sealed.

Dated: June 16, 2025                           Respectfully submitted,

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Case 1:25-md-03143-SHS-OTW   Document 205     Filed 06/16/25     Page 4 of 4




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                                 4
